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                                           UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF LOUISIANA

              In re: BOUDREAUX, DWAYNE LEONARD SR.                                              § Case No. 21-10940
                     BOUDREAUX, TERRY LYNN                                                      §
                                                                                                §
         Debtor(s) TERRY LYNN PARKER                                                            §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on July 19, 2021. The undersigned trustee was appointed on July 19, 2021.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $                  1,494.99

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                                  0.00
                                    Administrative expenses                                                 0.00
                                    Bank service fees                                                      20.00
                                    Other payments to creditors                                             0.00
                                    Non-estate funds paid to 3rd Parties                                    0.00
                                    Exemptions paid to the debtor                                           0.00
                                    Other payments to the debtor                                            0.00
                             Leaving a balance on hand of 1                         $                  1,474.99
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

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               6. The deadline for filing non-governmental claims in this case was 12/23/2021
       and the deadline for filing governmental claims was 01/15/2022. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $373.75. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $0.00 as interim compensation and now requests the
       sum of $373.75, for a total compensation of $373.75.2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $176.38, for total expenses of
               2
       $176.38.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 01/21/2022                    By: /s/Barbara Rivera-Fulton
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

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                                                                                                                                                                           Exhibit A


                                                                                 Form 1                                                                                    Page: 1

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 21-10940                                                                    Trustee:        (380060)     Barbara Rivera-Fulton
Case Name:        BOUDREAUX, DWAYNE LEONARD SR.                                          Filed (f) or Converted (c): 07/19/21 (f)
                  BOUDREAUX, TERRY LYNN                                                  §341(a) Meeting Date:        08/20/21
Period Ending: 01/21/22                                                                  Claims Bar Date:             12/23/21

                               1                                          2                         3                       4                    5                     6

                    Asset Description                                Petition/             Estimated Net Value          Property            Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,    Abandoned            Received by        Administered (FA)/
                                                                      Values             Less Liens, Exemptions,       OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                  Remaining Assets

 1       2721 Virginia Lee Dr., Marrero, LA                             120,000.00                          0.00          OA                          0.00                     FA

 2       2006 Nissan Pathfinder                                            1,000.00                     1,000.00          OA                          0.00                     FA

 3       1995 Ford F-150 pick up                                           1,000.00                         0.00                                      0.00                     FA

 4       Household Goods and Furnishings                                   2,000.00                         0.00          OA                          0.00                     FA

 5       Wearing apparel                                                   1,000.00                         0.00          OA                          0.00                     FA

 6       5th District Savings bank checking account                            0.00                       73.58                                      74.00                     FA

 7       Garnishment funds (u)                                                 0.00                     1,485.78                                  1,420.99                     FA

 7       Assets     Totals (Excluding unknown values)                   $125,000.00                  $2,559.36                                   $1,494.99                  $0.00



     Major Activities Affecting Case Closing:

                  TDR

                  Submitted TFR to UST

     Initial Projected Date Of Final Report (TFR):      April 1, 2022                      Current Projected Date Of Final Report (TFR):       March 1, 2022




                                                                                                                                           Printed: 01/21/2022 10:46 AM    V.20.40
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                                                                                                                                                                                   Exhibit B


                                                                                   Form 2                                                                                           Page: 1

                                                    Cash Receipts And Disbursements Record
Case Number:         21-10940                                                                       Trustee:              Barbara Rivera-Fulton (380060)
Case Name:           BOUDREAUX, DWAYNE LEONARD SR.                                                  Bank Name:            Metropolitan Commercial Bank
                     BOUDREAUX, TERRY LYNN                                                          Account:              ******5065 - Checking Account
Taxpayer ID #:       **-***0889                                                                     Blanket Bond:         $31,981,268.00 (per case limit)
Period Ending: 01/21/22                                                                             Separate Bond: N/A

   1             2                            3                                      4                                                5                     6                  7

 Trans.     {Ref #} /                                                                                                             Receipts        Disbursements             Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                 T-Code              $                  $                Account Balance
09/21/21       {7}         Edward Bukaty                       Reimbursement of garnished funds.               1229-000                1,420.99                                    1,420.99
09/30/21                   Metropolitan Commercial Bank        Bank and Technology Services Fee                2600-000                                           5.00             1,415.99
10/29/21                   Metropolitan Commercial Bank        Bank and Technology Services Fee                2600-000                                           5.00             1,410.99
11/26/21       {6}         Terry Boudreaux                     Funds on Deposit                                1129-000                   74.00                                    1,484.99
11/30/21                   Metropolitan Commercial Bank        Bank and Technology Services Fee                2600-000                                           5.00             1,479.99
12/31/21                   Metropolitan Commercial Bank        Bank and Technology Services Fee                2600-000                                           5.00             1,474.99

                                                                                   ACCOUNT TOTALS                                      1,494.99                  20.00          $1,474.99
                                                                                          Less: Bank Transfers                             0.00                   0.00
                                                                                   Subtotal                                            1,494.99                  20.00
                                                                                          Less: Payments to Debtors                                               0.00
                                                                                   NET Receipts / Disbursements                       $1,494.99                 $20.00

                                   Net Receipts :          1,494.99
                                                                                                                                        Net             Net                     Account
                                     Net Estate :         $1,494.99                TOTAL - ALL ACCOUNTS                               Receipts     Disbursements                Balances

                                                                                   Checking # ******5065                               1,494.99                  20.00             1,474.99

                                                                                                                                      $1,494.99                 $20.00          $1,474.99




{} Asset reference(s)                                                                                                                          Printed: 01/21/2022 10:46 AM         V.20.40
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                                                           EXHIBIT C
                                                    ANALYSIS OF CLAIMS REGISTER                      Claims Bar Date: December 23, 2021

Case Number: 21-10940                                                Page: 1                                   Date: January 21, 2022
Debtor Name: BOUDREAUX, DWAYNE LEONARD SR.                                                                     Time: 10:47:04 AM
Claim #   Creditor Name & Address                     Claim Type    Claim Ref. No. / Notes   Amount Allowed    Paid to Date   Claim Balance

          Barbara Rivera-Fulton                       Admin Ch. 7                                    $373.75          $0.00          373.75
200       P. O. BOX 19980
          NEW ORLEANS, LA 70179
          Barbara Rivera-Fulton                       Admin Ch. 7                                    $176.38          $0.00          176.38
200       P. O. BOX 19980
          NEW ORLEANS, LA 70179
4P        Louisiana Department of Revenue             Priority                                       $408.63          $0.00          408.63
 570      P.O. Box 201
          Baton Rouge, LA 70821
5P        Internal Revenue Service                    Priority                                     $4,873.27          $0.00        4,873.27
 570      PO Box 7346
          Philadelphia, PA 19101-7346
1         PosiGen of Louisiana, LLC c/o Christine     Unsecured                                   $11,043.00          $0.00       11,043.00
 610      Berger
          819 Central Ave, Suite 210
          New Orleans, LA 70121
2         Credit Acceptance Corp                      Unsecured                                    $2,986.01          $0.00        2,986.01
 610      25505 West Twelve Mile Road
          Suite 3000
          Southfield, MI 48034
3         Capital One Auto Finance, a division of     Unsecured                                    $6,647.88          $0.00        6,647.88
 610      Capital On
          PO Box 60511
          City Of Industry, CA 91716
4U        Louisiana Department of Revenue             Unsecured                                      $183.73          $0.00          183.73
 610      P.O. Box 201
          Baton Rouge, LA 70821
5U        Internal Revenue Service                    Unsecured                                    $2,802.35          $0.00        2,802.35
 610      PO Box 7346
          Philadelphia, PA 19101-7346
6         Portfolio Recovery Associates LLC           Unsecured                                      $466.72          $0.00          466.72
 610      PO Box 12914
          Norfolk, VA 23541
7         Portfolio Recovery Associates LLC           Unsecured                                      $685.84          $0.00          685.84
 610      PO Box 12914
          Norfolk, VA 23541

<< Totals >>                                                                                       30,647.56           0.00       30,647.56
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                                   TRUSTEE'S PROPOSED DISTRIBUTION                                        Exhibit D

              Case No.: 21-10940
              Case Name: BOUDREAUX, DWAYNE LEONARD SR.
              Trustee Name: Barbara Rivera-Fulton
                                                 Balance on hand:                          $             1,474.99
               Claims of secured creditors will be paid as follows:

 Claim         Claimant                              Claim Allowed Amount Interim Payments               Proposed
 No.                                               Asserted       of Claim          to Date              Payment
                                                       None
                                                 Total to be paid to secured creditors:    $                 0.00
                                                 Remaining balance:                        $             1,474.99

               Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                             Total Requested Interim Payments        Proposed
                                                                                        to Date       Payment
Trustee, Fees - Barbara Rivera-Fulton                                   373.75                 0.00           373.75
Trustee, Expenses - Barbara Rivera-Fulton                               176.38                 0.00           176.38
                             Total to be paid for chapter 7 administration expenses:       $              550.13
                             Remaining balance:                                            $              924.86

                Applications for prior chapter fees and administrative expenses have been filed as follows:
 Reason/Applicant                                             Total Requested Interim Payments        Proposed
                                                                                        to Date       Payment
                                                       None
                             Total to be paid for prior chapter administrative expenses:   $                0.00
                             Remaining balance:                                            $              924.86

              In addition to the expenses of administration listed above as may be allowed by the
         Court, priority claims totaling $5,281.90 must be paid in advance of any dividend to
         general (unsecured) creditors.
               Allowed priority claims are:
 Claim         Claimant                                       Allowed Amount Interim Payments            Proposed
 No                                                                  of Claim          to Date           Payment
   4P          Louisiana Department of Revenue                          408.63                 0.00            71.55
   5P          Internal Revenue Service                               4,873.27                 0.00           853.31




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                                                 Total to be paid for priority claims:      $              924.86
                                                 Remaining balance:                         $                0.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 24,815.53 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  1            PosiGen of Louisiana, LLC c/o Christine                11,043.00                 0.00              0.00
               Berger
  2            Credit Acceptance Corp                                  2,986.01                 0.00              0.00
  3            Capital One Auto Finance, a division of                 6,647.88                 0.00              0.00
               Capital On
  4U           Louisiana Department of Revenue                           183.73                 0.00              0.00
  5U           Internal Revenue Service                                2,802.35                 0.00              0.00
  6            Portfolio Recovery Associates LLC                         466.72                 0.00              0.00
  7            Portfolio Recovery Associates LLC                         685.84                 0.00              0.00
                             Total to be paid for timely general unsecured claims:          $                0.00
                             Remaining balance:                                             $                0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
                                                       None
                             Total to be paid for tardy general unsecured claims:           $                0.00
                             Remaining balance:                                             $                0.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments          Proposed
No                                                                   of Claim          to Date         Payment
                                                       None
                                                Total to be paid for subordinated claims: $                0.00
                                                Remaining balance:                        $                0.00




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